       Case 1:25-cv-01121-TSC           Document 13        Filed 04/25/25      Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 AHWAR SULTAN, et al.,

                 Plaintiffs,

         v.
                                                            Civil Action No. 25-cv-1121
 DONALD J. TRUMP, et al.,
 in his official capacity as
 President of the United States,

                 Defendants.


                                             ORDER

       For the reasons stated in the accompanying Memorandum Opinion, ECF No. 11, Plaintiff

Ahwar Sultan’s Motion for a Temporary Restraining Order, ECF No. 4, is GRANTED IN PART

and DENIED IN PART. The court

       ORDERS Defendants to return Plaintiff Sultan’s record in the Student and Exchange

Visitor Information System (SEVIS) to Active status as of April 3, 2025. The court further

       ORDERS that Defendants may not change or otherwise modify the Plaintiff’s record in

SEVIS solely on the basis of his arrest on April 25, 2024 at the Ohio State University, and

subsequent dismissal of that charge. The court further

       ORDERS that Defendants shall ensure that a representative of the United States

Department of Homeland Security (“DHS”) is present at its next scheduled hearing who can make

authoritative representations to the court on behalf of the agency and United States Immigration

and Customs Enforcement. Specifically, the representative should be prepared to explain to the

court what Plaintiff Sultan’s F-1 legal status is, and whether Defendants intend to initiate removal

proceedings against him. The court further

                                            Page 1 of 2
        Case 1:25-cv-01121-TSC           Document 13        Filed 04/25/25       Page 2 of 2




       ORDERS that the parties file a Joint Status Report by April 26 by 5:00 P.M., indicating

what further briefing, if any, they plan to file, and if so, specifying a briefing schedule and a date

for a hearing.



Date: April 25, 2025

                                                  Tanya S. Chutkan
                                                  TANYA S. CHUTKAN
                                                  United States District Judge




                                             Page 2 of 2
